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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


 JOSEPH MULL, individually and on behalf of all
 others similarly situated,

                         Plaintiff,                      Case No. 2:24-cv-06083-GJP
          v.

 GOTHAM DISTRIBUTING CORPORATION and
 OLD SCHOOL VENTURES, INC., individually
 and collectively d/b/a OLDIES.COM,

                         Defendants.


      PLAINTIFF’S MOTION FOR LEAVE TO FILE AN AMENDED COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 15(a), Plaintiff moves for leave to file a First

Amended Complaint, and in support states as follows:

         Relief requested: The Motion seeks an Order permitting the filing of the proposed First

Amended Complaint (“FAC”) attached hereto as Exhibit A. A redline of the operative Complaint

and the proposed First Amended Complaint is attached hereto as Exhibit B.

         Grounds: Plaintiff initiated this action with the Complaint on November 13, 2024. (Dkt.

1.) On January 3, 2025, the Parties stipulated and agreed to a 30-day extension of time for

Defendants to respond to the complaint, which made the deadline January 27, 2025. (Dkt. 7.) On

January 6, 2025, the Court accepted the Parties’ stipulation. (Dkt. 8.) On January 24, 2025, the

Parties stipulated and agreed to a 30-day extension of time for Defendants to respond to the

Complaint, which made the deadline February 26, 2025. (Dkt. 9.) On January 28, 2025, the Court

denied the Parties’ stipulation to extend Defendants’ time to respond for failing to provide a reason

for the need for an extension. (Dkt. 10.) On January 30, 2025, Defendant Old School Ventures,

Inc. filed a revised stipulation explaining that an extension was necessary to adequately investigate


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the allegations in the Complaint, which was delayed in part by limited availability during the

holiday season. (Dkt. 13.) The Court accepted that stipulation and extended Defendants’ deadline

to respond to the Complaint through and including February 26, 2025. (Dkt. 14.)

       On February 17, 2025, Defendant Old School Ventures, Inc. reached out to Plaintiff’s

Counsel to discuss the case, and a discussion occurred that afternoon. On February 18, 2025,

Defendant Old School Ventures, Inc. and Plaintiff’s Counsel began an informal exchange of

information concerning resolution of the claims against that party. On February 21, 2025,

Defendant Old School Ventures, Inc. provided some requested information to Plaintiff’s Counsel.

Upon receipt of this information, Plaintiff agreed to a fourteen-day extension of Defendant Old

School Ventures, Inc.’s deadline to respond to the complaint while the information was reviewed.

On February 24, 2025, Plaintiff requested clarification of some of the information produced by

Defendant Old School Ventures, Inc., including whether any resolution was being pursued

individually or collectively. That same day, Defendant Old School Ventures, Inc. confirmed that

it was seeking individual resolution. On February 26, 2025, neither Defendant filed a response to

the Complaint.

       On February 28, 2025, Plaintiff reached out to Defendant Old School Ventures, Inc.

concerning the status of the stipulation. That evening, Defendant Old School Ventures, Inc.

responded with a draft stipulation. On February 28, 2025, Plaintiff also emailed counsel for

Defendant Gotham Distributing Corporation to discuss the status of its response to the Complaint.

Plaintiff and Defendant Gotham Distributing Corporation discussed the case over the phone. On

March 3, 2025, Plaintiff approved the stipulation and Defendant filed the stipulation. (Dkt. 15.)

On March 4, 2025, the Court denied the stipulation between Plaintiff and Defendant Old School

Ventures, Inc. (Dkt. 16.)



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       On March 4, 2025, Plaintiff reached out to both Defendants concerning the Court’s denial

of the stipulation to further extend their time to respond to the Complaint.           During these

communications, Plaintiff suggested that an amended complaint be filed based on new information

discovered concerning a nonparty to be added to this Action. On March 7, 2025, Plaintiff emailed

a redlined version of the proposed First Amended Complaint to both Defendants. Neither

Defendant responded until after Plaintiff left a voicemail for each Defendant and sent a follow-up

email on March 14, 2025, to ascertain whether the Defendants consented to the filing of an

amended complaint. Upon receipt of Plaintiff’s email, Defendant Old School Ventures, Inc.

responded to Plaintiff’s Counsel indicating that it disagreed with Plaintiff’s new allegations. On

March 17, 2025, Plaintiff responded to Defendant Old School Ventures, Inc., indicating that the

information provided was insufficient to render Plaintiff’s new allegations incorrect. Plaintiff

further advised Defendant Old School Ventures, Inc. to file a response to the Complaint or indicate

whether it consented to the filing of the First Amended Complaint.

       On March 20, 2025, an attorney for defendant Gotham indicated that Gotham did not object

to the filing of the proposed First Amended Complaint. In light of Plaintiff’s collegiality and the

discovery of new information bearing on the corporate structure of the Defendants and an unnamed

third party, Plaintiff now seeks leave pursuant to Rule 15(a) to file the attached FAC, which adds

a new party to the lawsuit and includes additional allegations concerning Defendants’ practices of

disclosing Plaintiff’s and its other customers’ personal viewing information to third parties. Justice

plainly requires permitting Plaintiff to make this routine amendment at the outset of the case. See

Fed. R. Civ. P. 15(a)(2).

                                    STATEMENT OF FACTS




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       This putative class action is brought based on Defendants’ violations of the Video Privacy

Protection Act, 18 U.S.C. § 2710 et seq. (“VPPA”). Defendants violated the VPPA in two ways:

first, by renting, selling, exchanging, and otherwise disclosing the Personal Viewing Information

it obtained through its sales of products to consumers without first providing consumers notice,

and second, by knowingly installingacr the Meta Pixel on its website that regularly disclosed

consumers’ personally identifiable information to Meta Platforms, Inc. (“Meta”). See 18 U.S.C. §

2710(b)(1).

       On February 26, 2025, Defendants failed to answer or otherwise respond to the Complaint.

In lieu of moving for clerk’s default and initiating unnecessary motion practice, Plaintiff now seeks

leave to file the attached proposed FAC pursuant to Rule 15(a)(2). The FAC adds factual

allegations relevant to clarify a central issue in this case – the entities responsible for disclosing

Plaintiff and putative class members’ personally identifiable information.

       No case management order has been entered, and thus no deadline to amend the pleadings

has been set. Because the Parties agreed to extensions of the deadline for Defendants to respond

to the Complaint, Plaintiff, by no fault of his own, was unable to discover key facts about the

unnamed third party until after the twenty-one-day period for Plaintiff to amend as a matter of

right expired. Moreover, discovery has not yet commenced. Under the circumstances, “justice . .

. requires” permitting Plaintiff to make the requested amendment pursuant to Rule 15. See Fed.

R. Civ. P. 15(a)(2). Prior to the filing of the instant Motion, Plaintiff sought but was unable to

obtain Defendant’s consent to the relief requested herein.

                                   MEMORANDUM OF LAW

       “Generally, Rule 15 motions should be granted.” United States ex rel. Customs Fraud

Investigations, LLC. v. Victaulic Co., 839 F.3d 242, 249 (3d Cir. 2016). “This approach ensures



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that a particular claim will be decided on the merits rather than on technicalities.” Dole v. Arco

Chem. Co., 921 F.2d 484, 487 (3d Cir. 1990). Thus, leave to amend should be freely given unless,

“it is apparent from the record that (1) the moving party has demonstrated undue delay, bad faith

or dilatory motives, (2) the amendment would be futile, or (3) the amendment would prejudice the

other party[.]” Simmons v. Simpson House, Inc., No. CV 15-06636, 2017 WL 1303476, at *4

(E.D. Pa. Apr. 7, 2017).

       In this case, Plaintiff merely seeks leave to add a new party to the lawsuit who is alleged

to have contributed to the VPPA violation presently alleged and to include additional allegations

concerning Defendants’ practices of disclosing Plaintiff’s and its other customers’ personal

viewing information to third parties. Notably, none of the circumstances capable of warranting

denial of leave to amend under Rule 15 – such as “undue delay, bad faith or dilatory motive on the

part of the movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, [or] futility of the

amendment,” Forman, 371 U.S. at 182 – are present here. This is Plaintiff’s first request to amend,

it comes at the outset of the case, Plaintiff has not unduly delayed (or exhibited any bad faith or

dilatory motive) in making it, and Defendants would suffer no prejudice if it is allowed. In fact,

Defendants are already in default and this amendment would restore their ability to provide a

responsive pleading. No scheduling order has been entered, no formal discovery has been

undertaken to date, and the amendment does not add any new claims.

       For the reasons explained herein, Plaintiff respectfully submits that Plaintiff’s modest

request to amend under Rule 15 should be granted. See Emmes Co., LLC v. SAP Am., Inc., No.

CV 21-0019, 2021 WL 3271253, at *2 (E.D. Pa. July 29, 2021) (granting leave to amend some

claims based on a party’s reason that “miscommunications among counsel for missing the Court’s



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deadline and argues granting leave is appropriate because ‘[t]his case remains in its infancy, and

no party will be prejudiced’ by amendment.”); Beneficial Equip. Fin. Corp. v. REM Nation PLLC,

No. CV 18-00308, 2018 WL 5811471, at *3 (E.D. Pa. Nov. 6, 2018) (granting leave to amend and

add parties); Mittman v. Nationwide Affinity Ins. Co., No. CV 16-04658, 2017 WL 1319445, at *4

(E.D. Pa. Apr. 10, 2017); Wood v. AmeriHealth Caritas Servs., LLC, No. CV 17-3697, 2019 WL

4199955, at *2 (E.D. Pa. Apr. 18, 2019) (granting leave to amend to add IWPA claim); Frederick

v. Avantix Lab'ys, Inc., 773 F. Supp. 2d 446, 451 (D. Del. 2011).

                                        CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests leave to file the proposed FAC.




                                                      Respectfully submitted,

Dated: March 20, 2025                                 /s/ William E. Hoese
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